          Case 1:18-cv-00722-JLR Document 238 Filed 05/17/23 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
GEORGE BENN,

                                   Plaintiff,                               18 CIVIL 722 (JLR)

                 -against-                                                    JUDGMENT
CAPTAIN DELROY MORRISON, et al.,

                                    Defendants.
------------------------------------------------------------X



        It is hereby ORDERED, ADJUDGED AND DECREED: That after a Jury

Trial before the Honorable Jennifer L. Rochon, United States District Judge, the jury having

returned a verdict in favor of Defendants, and the Complaint is hereby dismissed.


DATED: New York, New York
       May 17       , 2023


                                                                           RUBY J. KRAJICK
                                                                      _________________________
So Ordered:                                                                 Clerk of Court

                                                                BY:
________________________                                               _________________________
   U.S.D.J.                                                                   Deputy Clerk
